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UNITED STATES DISTRICT COURT
                                                                                   1/28/2021
SOUTHERN DISTRICT OF NEW YORK

 DRYWALL TAPERS AND POINTERS OF
 GREATER NEW YORK LOCAL UNION
 1974, AFFILIATED WITH
 INTERNATIONAL UNION OF ALLIED
 PAINTERS AND ALLIED TRADES, AFL-
 CIO, ET AL.,                                                1:20-cv-10101 (ALC)
                                   Petitioners,              Order
                       -against-

 TIGER CONTRACTING CORP., ET AL.,

                                   Respondents.

ANDREW L. CARTER, JR., United States District Judge:

       On December 2, 2020, Petitioners filed a Petition to Confirm Arbitration. ECF No. 1. On
December 4, 2020, Petitioners filed an Amended Petition. ECF No. 7. Petitioners served
Respondent The Urban Group, Inc. through the New York Secretary of State pursuant to N.Y.
Bus. Corp. Law § 306 on December 9, 2020. ECF No. 10. On January 20, 2021, Petitioners filed
a motion for summary judgment along with supporting documents. ECF Nos. 11-14. Petitioners
served the motion on Respondent The Urban Group, Inc. via mail on the same day. ECF No. 15.
       Accordingly, the Court hereby ORDERS the parties to brief the motion for summary
judgment in accordance with the following schedule:
                   •   Opposition brief: February 11, 2021
                   •   Reply brief: February 18, 2021

Petitioners are hereby ORDERED to serve this Order on Respondent The Urban Group, Inc. and
file proof of service by no later than February 3, 2021.



SO ORDERED.

Dated: January 28, 2021                               ___________________________________
       New York, New York                                   ANDREW L. CARTER, JR.
                                                            United States District Judge
